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 3 MARSHACK HAYS LLP
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 6 Attorneys for Chapter 7 Trustee,
   DAVID M. GOODRICH
 7
                              UNITED STATES BANKRUPTCY COURT
 8
                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
 9

10    In re                                             Case No. 2:17-bk-23812-BR
11    BENJAMIN W. GONZALES,                             Chapter 7
12                        Debtor.                       DECLARATION OF CHAD V. HAES IN
                                                        SUPPORT OF PROPOSED ORDERS
13                                                      GRANTING TRUSTEE’S MOTION FOR
                                                        ORDER:
14                                                        1. APPROVING SUBORDINATION
                                                             AGREEMENT BETWEEN THE
15                                                           TRUSTEE AND BANK OF AMERICA;
                                                          2. APPROVING COMPROMISE
16                                                           BETWEEN TRUSTEE AND
                                                             COMERICA BANK; AND
17                                                        3. AUTHORIZING SALE OF REAL
                                                             PROPERTY (A) OUTSIDE THE
18                                                           ORDINARY COURSE OF BUSINESS;
                                                             (B) FREE AND CLEAR OF LIENS,
19                                                           CLAIMS, AND ENCUMBRANCES;
                                                             (C) SUBJECT TO OVERBID; AND
20                                                           (D) FOR DETERMINATION OF
                                                             GOOD FAITH PURCHASER UNDER
21                                                           11 U.S.C. §363(M)
22                                                      [MOTION – DOCKET NO. 263]
23                                                      Date:       August 10, 2021
                                                        Time:       2:00 p.m.
24                                                      Ctrm:       1668
25

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                                          DECLARATION OF CHAD V. HAES
     4832-0355-6848,v.1
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 1                                          Declaration of Chad V. Haes
 2

 3            I, CHAD V. HAES, say and declare as follows:
 4            1.          I am an individual over 18 years of age and competent to make this Declaration.
 5            2.          If called upon to do so, I could and would competently testify as to the facts set forth
 6 in this Declaration.

 7            3.          The facts set forth below are true of my personal knowledge.
 8            4.          I am an attorney at law duly admitted to practice before this Court and all courts of
 9 the State of California.

10            5.          I am a partner in the law firm of Marshack Hays LLP, attorneys of record for David
11 M. Goodrich, in his capacity as Chapter 7 Trustee (“Trustee”) for the bankruptcy estate (“Estate”)

12 of Benjamin W. Gonzales (“Debtor”).

13            6.          I reviewed the docket in this case prior to execution of this Declaration to refresh my
14 memory as to the dates on which particular documents were filed.

15            7.          On July 20, 2021, as Docket No. 263, the Trustee filed a Motion for Order:
16 1. Approving Subordination Agreement Between the Trustee and Bank of America; 2. Approving

17 Compromise Between Trustee and Comerica Bank; and 3. Authorizing Sale of Real Property

18 (A) Outside the Ordinary Course of Business, (B) Free and Clear of Liens, Claims, and

19 Encumbrances, (C) Subject to Overbid, and (D) for Determination of Good Faith Purchaser Under

20 11 U.S.C. §363(M); Memorandum of Points and Authorities; Declarations of David M. Goodrich

21 and Rogelio Sanchez In Support” (“Motion”).

22            8.          On July 27, 2021, as Docket No. 267, Comerica Bank (“Comerica”) filed a
23 conditional non-opposition to the Motion. The non-opposition confirmed that Comerica consented to

24 the Trustee’s proposed sale of Debtor’s former residence (“Property”) on the condition that the

25 settlement agreement between Comerica and the Trustee (“Agreement”) was approved by the Court.

26            9.          Also, on July 27, 2021, as Docket No. 268, The Law Firm of Fox and Fox (“Fox
27 Firm”) filed an opposition to the Motion opposing Agreement, but also specifying that the Fox Firm

28 unconditionally consented to the proposed sale of the Property.

                                                         1
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 1            10.         On July 30, 2021, as Docket No. 269, Comerica filed a reply memorandum in support
 2 of the Motion.

 3            11.         Also, on July 30, 2021, as Docket number 270, the Trustee filed an omnibus reply to
 4 responses to the Motion.

 5            12.         The hearing on the Motion occurred on August 10, 2021. Counsel for the Trustee,
 6 Comerica, and the Fox Firm (collectively, the “Parties”) appeared on behalf of their respective

 7 clients. At the hearing, none of the Parties objected to the proposed sale of the Property.

 8 Notwithstanding the Fox Firm’s continued opposition to the Agreement, the Court granted the

 9 Motion in its entirety, including the Trustee’s request for approval of the Agreement.

10            13.         In over a decade of experience representing numerous Chapter 7 trustees, I have
11 encountered escrow/title companies which have been reluctant to or refused to close an escrow

12 and/or insure title where the order approving sale is the subject of a pending appeal.

13            14.         While the Parties did not contest the sale, and in fact agree that the sale should
14 proceed, the Trustee is concerned that the Fox Firm may appeal the order approving the sale if such

15 order contains a provision also approving the Agreement. As such, in an abundance of caution, and

16 to facilitate the close of escrow of the Property and the issuance of title insurance, the Trustee has

17 lodged two separate orders approving the Motion concurrently herewith. The first order authorizes

18 the sale and approves a separate unopposed subordination agreement between the Trustee and Bank

19 of America. The second order approves the Agreement, which was the only relief opposed by the

20 Fox Firm.

21            15.         The Trustee requests that the Court enter the proposed separate orders lodged
22 concurrently herewith so that any potential appeal of the order approving the Agreement does not

23 prevent, delay, or otherwise affect the court-approved and unopposed sale of the Property.

24            16.         Also, if there is only a single order and escrow closes, any appeal of the compromise
25 by the Fox Firm could be statutorily mooted because of the Section 363(m) finding.

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                                              DECLARATION OF CHAD V. HAES
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 1            17.         As such, to facilitate the unopposed sale and avoid prejudicing any party should there
 2 be an appeal, good cause exists to enter two separate orders.

 3            I declare under penalty of perjury that the foregoing is true and correct. Executed on
 4 August 17, 2021.

 5                                                              /s/ Chad V. Haes
                                                               CHAD V. HAES
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                                             DECLARATION OF CHAD V. HAES
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: DECLARATION OF CHAD V. HAES IN SUPPORT OF
PROPOSED ORDERS GRANTING TRUSTEE’S MOTION FOR ORDER:
1. APPROVING SUBORDINATION AGREEMENT BETWEEN THE TRUSTEE AND BANK OF AMERICA;
2. APPROVING COMPROMISE BETWEEN TRUSTEE AND COMERICA BANK; AND
3. AUTHORIZING SALE OF REAL PROPERTY (A) OUTSIDE THE ORDINARY COURSE OF BUSINESS; (B) FREE
AND CLEAR OF LIENS, CLAIMS, AND ENCUMBRANCES; (C) SUBJECT TO OVERBID; AND (D) FOR
DETERMINATION OF GOOD FAITH PURCHASER UNDER 11 U.S.C. §363(M) will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
August 17, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 17, 2021, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
DEBTOR
BENJAMIN W GONZALES
P.O. BOX 1530
LOS ANGELES, CA 90001
                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on August 17, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
VIA OVERNIGHT MAIL:
  PRESIDING JUDGE’S COPY
  HONORABLE BARRY RUSSELL
  UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
  EDWARD R. ROYBAL FEDERAL BUILDING AND COURTHOUSE
  255 E. TEMPLE ST., SUITE 1660 / COURTROOM 1668
  LOS ANGELES, CA 90012
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   August 17, 2021                  Chanel Mendoza                             /s/ Chanel Mendoza
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR CREDITOR BMW BANK OF NORTH AMERICA, C/O AIS PORTFOLIO SERVICES, LP:
       Bhagwati Barot bbarot@aissolution.com
     ATTORNEY FOR CREDITOR/PLAINTIFF COMERICA BANK: Jennifer Witherell Crastz jcrastz@hrhlaw.com
     ATTORNEY FOR CREDITOR/PLAINTIFF COMERICA BANK: Christopher D Crowell ccrowell@hrhlaw.com
     CREDITOR BANK OF AMERICA, N.A.: Joseph C Delmotte ecfcacb@aldridgepite.com,
       JCD@ecf.inforuptcy.com; jdelmotte@aldridgepite.com
     INTERESTED PARTY COURTESY NEF: Howard M Ehrenberg hehrenberg@sulmeyerlaw.com,
       hehrenberg@ecf.inforuptcy.com; mviramontes@ecf.inforuptcy.com
     INTERESTED PARTY ANDY EPSTEIN: Andy J Epstein taxcpaesq@gmail.com
     CREDITOR FRANK O FOX AND DEFENDANT THE LAW FIRM OF FOX AND FOX: Frank O Fox
       frank@foxandfox.com
     TRUSTEE DAVID M GOODRICH (TR): David M Goodrich (TR) dgoodrich@wgllp.com, c143@ecfcbis.com;
       dgoodrich11@ecf.axosfs.com; lrobles@wgllp.com
     ATTORNEY FOR TRUSTEE DAVID M GOODRICH (TR): Chad V Haes chaes@marshackhays.com,
       chaes@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com; cmendoza@marshackhays.com;
       kfrederick@ecf.courtdrive.com
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       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
     ACCOUNTANT SAM S LESLIE: Sam S Leslie admin@leaaccountancy.com
     ATTORNEY FOR TRUSTEE DAVID M GOODRICH (TR): Laila Masud lmasud@marshackhays.com,
       lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
     ATTORNEY FOR DEBTOR BENJAMIN W GONZALES: James R Selth jim@wsrlaw.net, jselth@yahoo.com;
       brian@wsrlaw.net; vinnet@ecf.inforuptcy.com
     INTERESTED PARTY COURTESY NEF: Valerie Smith claims@recoverycorp.com
     UNITED STATES TRUSTEE (LA): United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
     ATTORNEY FOR DEBTOR BENJAMIN W GONZALES: Daniel J Weintraub dan@wsrlaw.net,
       vinnet@ecf.inforuptcy.com; gabby@wsrlaw.net; eduardo@wsrlaw.net
     ATTORNEY FOR CREDITOR BONIAL & ASSOCIATES, P.C. – PHH: Gilbert R
       Yabes ecfcacb@aldridgepite.com, GRY@ecf.inforuptcy.com; gyabes@aldridgepite.com
     ATTORNEY FOR CREDITOR GRETEL GONZALES: Jasmin Yang jasmin.yang@usdoj.gov,
       USACAC.CIVIL@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
